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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 EDDIE GARCIA,

                           Plaintiff,
                                                     Civil Action No.:
                    vs.                              1:21-cv-06393-EAW

 LEWIS TREE SERVICE, INC. and
 ROBERT GASTON,

                            Defendants.




                    MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANTS’ MOTION TO DISMISS




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                                PRELIMINARY STATEMENT

        Defendants Lewis Tree Service, Inc. (“Lewis Tree”) and Robert Gaston (“Gaston”)

(collectively “Defendants”) bring this motion to dismiss Plaintiff Eddie Garcia’s Complaint

(Dkt. 1) pursuant to Rule 12(b)(1), (2) and (6) of the Federal Rules of Civil Procedure.

        Plaintiff took FMLA leave from his job with Lewis Tree when he was diagnosed with colon

cancer in November 2019. His doctor indicated that he would be able to return to work about

seven months later. Plaintiff was terminated during that period of leave. Those are the only salient

facts alleged in the Complaint, and the sole basis from which Plaintiff asserts causes of action

against both Defendants under the Family Medical Leave Act (“FMLA”), the Americans with

Disabilities Act (“ADA”) and the New York State Human Rights Law (“NYSHRL”). As

discussed in detail herein, Plaintiff’s claims are fatally deficient as against both Lewis Tree and

Gaston. In fact, as to Gaston, the Complaint fails to make any allegation whatsoever as relates to

Gaston regarding how he was allegedly involved with any of the claims or actions at issue in this

litigation. Even accepting all of the facts alleged as true and affording Plaintiff all favorable

inferences as required at this motion to dismiss stage, the Complaint is insufficient and must be

dismissed against both Defendants.

        First, Plaintiff fails to state a claim under NYSHRL because Plaintiff neither lived nor

worked in New York. Although Lewis Tree’s main office is located within New York, the law is

clear a claim under the NYSHRL cannot be sustained where Plaintiff himself does not live or work

within New York State. The Court lacks subject matter jurisdiction over Plaintiff’s NYSHRL

claims and they must be dismissed.

        Second, to the extent any remaining claims are asserted against Gaston individually, they

must be dismissed. As to Plaintiff’s ADA claim, the law is clear that there is no individual liability




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under that statute. As to Plaintiff’s FMLA claim, there are no allegations anywhere in the

Complaint that alleges any involvement by Gaston in the alleged violation of his FMLA rights.

Moreover, as to all of Plaintiff’s claims against Gaston, this Court lacks personal jurisdiction over

Gaston because he has no contacts with New York and had no personal involvement with any of

the events giving rise to Plaintiff’s claims.

        Third, Plaintiff fails to state claims against Lewis Tree under the FMLA. Plaintiff’s claim

for alleged FMLA interference fails because the Complaint makes clear that Plaintiff did, in fact,

receive 12 weeks of unpaid leave, as required by that law, and was unable to return to work at the

end of that time. Because Plaintiff received all of the leave that the law afforded him, his claim

for alleged interference must be dismissed. Plaintiff’s FMLA retaliation claim fares no better, as

the only alleged link between Plaintiff’s protected activity, temporal proximity, is too remote to

allege a prima facie case of causation. Plaintiff’s FMLA claims must be dismissed.

        Finally, Plaintiff’s ADA claims against Lewis Tree are similarly deficient. Plaintiff’s

failure to accommodate claim fails because Plaintiff does not allege that he requested any

accommodation that was allegedly denied. As for Plaintiff’s ADA retaliation claim, it fails

because Plaintiff does not allege that “but for” Plaintiff exercising his rights under the ADA his

employment would not have been terminated, as is required for such claims in the Second Circuit.

        For the reasons discussed herein, this Court should grant Defendants’ motion and dismiss

the Complaint in its entirety.




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                                                     FACTS1

         Plaintiff is a citizen and resident of Pennsylvania (Complaint ¶ 5). He was employed by

Lewis Tree from 2009 until 2020 (Complaint ¶ 6).

         Lewis Tree is a New York corporation, headquartered in Monroe County, New York

(Complaint ¶ 8).

         Robert Gaston was “employed by Lewis Tree as a manager or supervisor,” and “held a

supervisory or managerial role over the Plaintiff” (Complaint ¶¶ 10-11).

         On or about November 6, 2019, Plaintiff was diagnosed with colon cancer, requiring him

to undergo chemotherapy treatment (Complaint ¶¶ 23-25). Plaintiff notified Lewis Tree’s HR

department of his diagnosis by phone (Complaint ¶ 26) and began an FMLA leave of absence from

his position on that same day, November 6, 20192 (Complaint at p. 9 ¶ 52).3

         Plaintiff “faxed documentation from his doctor to Lewis Tree after his doctor’s visits on or

about November 21, 2019 and December 26, 2019” (Complaint ¶ 27). The Complaint further

alleges that “doctor’s notes from each of his chemotherapy treatments beginning on January 21,

2020 and occurring once every other week until June 6, 2020” were faxed to Lewis Tree, and that

“on January 21, 2020, [Plaintiff’s] physician wrote to Lewis Tree informing the company that

Mr. Garcia should be finished with chemotherapy treatments and able to return to work ‘by the




1
 The following facts are taken strictly from the Complaint and are assumed to be true for the purposes of this motion
only. Kelly v. Howard I. Shapiro & Assocs. Consulting Engineers, P.C., 716 F.3d 10, 14 (2d Cir. 2013).
2
         This paragraph states that Plaintiff took FMLA leave beginning on “November 6, 2020,” but it is clear from
the context that Plaintiff meant November 6, 2019.
3
         On Page 9 of the Complaint, the section under the heading “Count One” ends with Paragraph 61, but then
the next paragraph (the first paragraph under “Count Two”) does not continue in sequential numbering and instead
reverts back to “Paragraph 51.” Paragraphs 51 through 61 therefore appear twice in the Complaint, once under Count
One and once under Count Two. To avoid confusion, this memorandum refers to both the page and paragraph number
when citing to Paragraphs “51-61”.


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end of June 2020’” (Complaint ¶¶ 27-28). Plaintiff was ultimately granted permission from his

doctor to return to work on July 6, 2020 (Complaint ¶ 29).

        In early June 2020, Plaintiff’s brother attempted to provide Lewis Tree with “return-to-

work paperwork” for Plaintiff (Complaint ¶ 30). While doing so, Plaintiff’s brother learned that

Lewis Tree had already terminated Plaintiff’s employment (Complaint ¶ 30). Plaintiff alleges that

he then phoned Lewis Tree and learned that it had terminated his employment “months ago” while

he was “on leave” (Complaint ¶¶ 32, 42).

        On these facts, Plaintiff asserts the following six causes of action against both Lewis Tree

and Gaston: (1) FMLA interference; (2) FMLA retaliation; (3) failure to provide a reasonable

accommodation under the ADA; (4) ADA retaliation; (5) disability-based discrimination under the

NYSHRL; and (6) NYSHRL retaliation (see generally Complaint at p. 8-13). All such claims

must be dismissed.

                                          ARGUMENT

                                             POINT I

             PLAINTIFF’S NYSHRL CLAIMS MUST BE DISMISSED BECAUSE
               PLAINTIFF NEITHER LIVED NOR WORKED IN NEW YORK

        It is well-settled that employees who neither live nor work in New York may not bring

claims under NYSHRL. Hoffman v. Parade Publications, 15 N.Y.3d 285 (2010). In Hoffman v.

Parade Publications, the Court of Appeals squarely addressed this question, holding:

               The obvious intent of the [New York] State Human Rights Law is
               to protect ‘inhabitants’ and persons ‘within’ the state, meaning that
               those who work in New York fall within the class of persons who
               may bring discrimination claims in New York. … [T]he law does
               not protect a nonresident like [plaintiff].

Id. at 291-92. Accordingly, in order to assert a claim under the NYSHRL, a plaintiff “must plead

and prove that the alleged discriminatory conduct had an impact in New York” (id. at 291) by


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pleading that the plaintiff him/herself was directly affected within New York State. Doner-

Hendrick v. New York Inst. of Tech., 2011 WL 2652460, *8 (S.D.N.Y. July 6, 2011) (the “‘impact’

within the state that plaintiff must plead ... is the direct effect of a discriminatory act on a protected

individual”). But where a plaintiff is “neither a resident of, nor employed in the City or State of

New York,” claims under the NYSHRL are properly dismissed for lack of subject matter

jurisdiction. Hoffman, 15 N.Y.3d at 292.

        Plaintiff’s fifth and sixth causes of action purport to assert claims for alleged disability-

based discrimination and retaliation under the NYSHRL against both Lewis Tree and Gaston. But

Plaintiff’s NYSHRL claims are fatally flawed, as Plaintiff lived and worked in Pennsylvania at all

relevant times. Plaintiff acknowledges in the Complaint that he lives in Berks County,

Pennsylvania (Complaint ¶ 5). Though Plaintiff avoids making an explicit statement about where

he actually performed work, nowhere in the Complaint does Plaintiff ever alleges that he has

performed any work in New York at any time. Both of Plaintiff’s claims under NYSHRL must be

dismissed on this basis.

        Moreover, even if the Complaint could be construed as alleging that Lewis Tree made the

alleged discriminatory decisions at issue in this litigation at its headquarters in New York, this fact,

even if true, would not save Plaintiff’s NYSHRL claims. Pakniat v. Moor, 192 A.D.3d 596, 597

(1st Dep’t 2021) (affirming dismissal of NYSHRL claim holding, “The fact that the alleged

discriminatory acts and unlawful decision to terminate plaintiff's employment occurred in

New York is insufficient to plead impact in New York.”); Ware v. L-3 Vertex Aerospace, LLC,

833 F. App’x 357, 358-59 (2d Cir. 2020); Ulrich v. Moody’s Corp., 2014 WL 12776746, *16

(S.D.N.Y. Mar. 31, 2014) (dismissing NYSHRL claims because alleged retaliation against non-

resident who worked outside New York “did not have an impact here”).



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         Because Plaintiff has failed to plead that the alleged discrimination and retaliation had an

impact in New York—nor could he, since he lived and worked in Pennsylvania at all times relevant

to this litigation—this Court lacks subject matter jurisdiction over Plaintiff’s fifth and sixth causes

of action. Such claims must be dismissed as against both Defendants.

                                                   POINT II

         ALL CLAIMS AGAINST DEFENDANT GASTON MUST BE DISMISSED

        Aside from being named in the caption, Defendant Gaston is hardly mentioned anywhere

in the Complaint. Indeed, aside from the caption, the only references to Gaston are within the

introductory paragraphs where he is vaguely alleged to be a “manager or supervisor” and as

holding a “supervisory or managerial role over the Plaintiff” (Complaint ¶¶ 10-11). Plaintiff never

alleges that Gaston made or was in any way involved with any of the alleged discriminatory or

retaliatory decisions or conduct at issue in the Complaint. Nevertheless, each of Plaintiff’s six

causes of action is brought collectively against the “Defendants” without any differentiation as to

which, if any, causes of action are alleged against Gaston as compared to Lewis Tree.4

        All of Plaintiff’s claims against Gaston must be dismissed. This Court lacks personal

jurisdiction over Gaston because he lives and works in Pennsylvania and had no involvement

whatsoever with the alleged discriminatory/retaliatory conduct at issue in this litigation.

Moreover, even if personal jurisdiction could be established, there still is no individual liability

under the ADA, and Plaintiff fails to allege any conduct attributable to Gaston to plausibly give

rise to individual liability under the FMLA.



4
         Under the heading of Count V, for discrimination under NYSHRL, Plaintiff cites the statutory language that
makes it unlawful for any person to “aid, abet, incite, compel, or coerce” unlawful acts, but does not even mention
Gaston’s name in connection with this provision (see Complaint ¶ 77 (citing NYSHRL § 296(6)). In any event, for
the reasons stated above in Point I, Plaintiff’s NYSHRL claims must be dismissed in their entirety against all
Defendants.


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A.       This Court Lacks Personal Jurisdiction Over Gaston

       i.        Legal Standard

         “A court facing challenges as to both its jurisdiction over a party and the sufficiency of any

claims raised must first address the jurisdictional question” and must dismiss the action against

any defendant over whom it lacks personal jurisdiction. Lugones v. Pete & Gerry’s Organic, LLC,

440 F. Supp. 3d 226, 234 (S.D.N.Y. 2020) (citing Arrowsmith v. United Press Int’l, 320 F.2d 219,

221 (2d Cir. 1963)); see Fed. R. Civ. P. 12(b)(2)).

         “[T]he plaintiff bears the burden of showing that the court has jurisdiction over the

defendant.” Gilbert v. Indeed, Inc., 2021 WL 169111, at *8 (S.D.N.Y. Jan. 19, 2021) (citing

Metro. Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 566 (2d Cir. 1996)). To defeat a

defendant’s motion to dismiss on grounds of personal jurisdiction, the plaintiff need make only a

prima facie showing by its pleadings and affidavits that jurisdiction exists. Id. (citing Dorchester

Fin. Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 85 (2d Cir. 2013). However, “[t]his prima facie

showing must include an averment of facts that, if credited by the ultimate trier of fact, would

suffice to establish jurisdiction over the defendant.” Dorchester Fin. Sec., 722 F.3d at 85 (internal

quotation marks omitted). Although the trial court “construe[s] the pleadings and affidavits in the

light most favorable to plaintiffs” (id.), the court must “not draw argumentative inferences in the

plaintiff's favor” and need not “accept as true a legal conclusion couched as a factual allegation.”

In re Terrorist Attacks on Sept. 11, 2011, 714 F.3d 659, 673 (2d Cir. 2013).

         “A federal district court exercises personal jurisdiction over a party in accordance with the

law of the forum state, subject to the requirements of due process under the United States

Constitution.” Scott v. ProClaim Am., Inc., 2015 WL 3851243, *3 (E.D.N.Y. June 22, 2015) (citing

Whitaker v. American Telecasting, Inc., 261 F.3d 196, 208 (2d Cir. 2001)). “In New York, courts

may exercise either general or specific jurisdiction over defendants. General jurisdiction allows

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courts in New York to adjudicate all claims against an individual or a corporation, even those

unrelated to its contacts with the state.” Id. (citing Sonera Holding B.V. v. Cukurova Holding A.S.,

750 F.3d 221, 225 (2d Cir. 2014)). “In contrast, specific jurisdiction ‘depends on an affiliation

between the forum [state] and the underlying controversy, principally, activity or an occurrence

that takes place in the forum State and is therefore subject to the State’s regulation.’” Id. (citing

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915 (2011) (internal quotation marks

and citations omitted)).

      ii.         Facts Relevant to the Personal Jurisdiction Analysis

         Gaston has been a resident of Pennsylvania for his entire life (Gaston Aff. ¶ 2).5 He has

worked for Lewis Tree for more than 12 years, and has been a General Foreman for the past 11

years (id. at ¶ 3). During his entire employment with Lewis Tree, Gaston has exclusively worked

in Pennsylvania, as have all of the employees that he supervises (id.). Gaston has never performed

any work in New York, and no Lewis Tree employee has ever performed work in New York while

under his supervision (id.).

         Gaston has no personal connections with New York (id. at ¶¶ 5-7). He does not live in or

own any property in New York (id. at ¶ 2). He does not travel to New York to visit family or

friends, to vacation, or to go shopping (id. ¶ 5). In his personal capacity, Gaston does not transact

any business in New York, contract anywhere to supply goods or services in New York, solicit

business in New York, and or derive any revenue from any goods used or consumed in New York




5
        The accompanying Affidavit of Robert Gaston, sworn to August 5, 2021, is cited herein as “Gaston Aff.”
This Court may consider the Gaston Affidavit to resolve this jurisdictional issue. See, e.g., Cooke v. United States,
918 F.3d 77, 80 (2d Cir. 2019) (“To resolve jurisdictional issues, [courts] may consider affidavits and other materials
beyond the pleadings” (citations omitted)).


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or services rendered in New York (id. at ¶¶ 6-7). Gaston also derives no personal revenue from

interstate or international commerce (id. at ¶ 7).

        In his role as General Foreman for Lewis Tree, Gaston has no involvement with Lewis

Tree employees’ requests for health, medical or disability-related leaves of absence (id. at ¶ 8).

When an employee informs Gaston that he or she has a health issue, Gaston immediately instructs

the employee to contact Lewis Tree’s benefits department and then he has no further involvement

in the process (id.). Lewis Tree’s benefits department informs him as to whether the employee

will be out on leave for a certain period of time and when the employee is scheduled to return to

work, if at all (id.). Gaston makes no inquiries about the employee’s condition, maintains no

related documents, provides no advice about medical leave to employees, and plays no part in

considering or making any determinations about health, medical or disability-related leaves of

absence (id.).

        Gaston had no involvement with any request Plaintiff made for FMLA leave or for any

leave of absence or accommodation related to his medical condition (id. at ¶ 9). Gaston did not

make any decision on or have any involvement with any decision that was made by Lewis Tree

regarding Plaintiff’s medical leave of absence, the termination of Plaintiff’s employment, or any

of the decisions and actions at issue in this litigation (id.).

        Gaston was not involved in any way with the decision to terminate Plaintiff’s employment

(id. at ¶ 10). He first learned of Plaintiff’s termination on May 22, 2020, when he was informed

by email from Lewis Tree’s Leave Administrator that Plaintiff’s employment had been terminated

effective that day (id.). Gaston did not make and had no involvement in making with the

termination decision (id.).




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     iii.        Gaston is Not Subject to General Personal Jurisdiction in New York

        New York’s general personal jurisdiction statute provides for jurisdiction over “persons,

property, or status as might have been exercised heretofore.” N.Y. CPLR 301. “A defendant is

subject to personal jurisdiction if he is engaged in such a continuous and systematic course of

‘doing business’ [in New York] as to warrant a finding of its ‘presence’ in this jurisdiction.”

Gilbert v. Indeed, Inc., 2021 WL 169111, *24 (S.D.N.Y. Jan. 19, 2021) (citing Laufer v. Ostrow,

55 N.Y.2d 305 (1982)). “However, an employee who is engaged in business in the state ‘does not

subject himself, individually, to the CPLR 301 jurisdiction of courts [in New York] unless he is

doing business in [New York] individually.’” Id. (citations omitted).

        Here, this Court lacks general personal jurisdiction over Gaston.        Gaston resides in

Pennsylvania, owns no property in New York, works entirely within Pennsylvania, performs no

business in New York and derives no revenue from any business performed in New York. All of

his work for Lewis Tree has been performed within Pennsylvania, never in New York, including

all of his supervisory responsibilities as none of the employees under his supervision have

performed any work in New York. Plaintiff has not alleged anything to the contrary in the

Complaint, nor could he. Plaintiff instead appears to be relying entirely on Gaston’s position with

Lewis Tree to support jurisdiction. But that is patently insufficient, as Gaston’s position with

Lewis Tree does not itself subject him to general jurisdiction in New York. See, e.g., Wallace

Church & Co. Inc. v. Wyattzier, LLC, 2020 WL 4369850, *5 (S.D.N.Y. July 30, 2020) (holding

jurisdiction under CPLR 301 is not established where individual defendants were only asserted

basis for jurisdiction was their corporate positions); Brinkmann v. Adrian Carriers, Inc., 29 A.D.3d

615 (2d Dep’t 2006) (“An individual cannot be subject to jurisdiction under CPLR 301 unless he

is doing business in New York as an individual rather than on behalf of a corporation.”).



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     iv.         Gaston is Not Subject to Specific Jurisdiction in New York

           This Court also lacks specific personal jurisdiction over Gaston. Although CPLR 302,

New York’s long arm statute, provides courts with a path to specific personal jurisdiction over

non-resident defendants, none of the requirements for specific jurisdiction under that statute are

established here. CPLR 302(a) provides that specific jurisdiction may be exercised over an

individual residing outside of New York who:

                 1. transacts any business within the state or contracts anywhere to
                    supply goods or services in the state; or

                 2. commits a tortious act within the state, except as to a cause of
                    action for defamation of character arising from the act; or

                 3. commits a tortious act without the state causing injury to person
                    or property within the state, except as to a cause of action for
                    defamation of character arising from the act, if he

                          (i)   regularly does or solicits business, or engages in any
                                other persistent course of conduct, or derives
                                substantial revenue from goods used or consumed or
                                services rendered, in the state, or

                         (ii)   expects or should reasonably expect the act to have
                                consequences in the state and derives substantial
                                revenue from interstate or international commerce;
                                or owns, uses or possesses any real property situated
                                within the state.

CPLR 302(a). In other words, specific jurisdiction is only available “provided that the defendant’s

activities [in New York] were purposeful, and that there was a substantial relationship between the

transaction and the claim asserted.” Pilates, Inc. v. Pilates Inst., Inc., 891 F. Supp. 175, 179

(S.D.N.Y. 1995) (citing Kreutter v. McFadden Oil Corp., 71 N.Y.2d 460 (1988)). Here, there is

no basis for specific jurisdiction over Gaston under any of the potentially applicable sections of

CPLR 302(a).




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               a.      CPLR 302(a)(1)

        To establish jurisdiction under CPLR 302(a)(1), Plaintiff must allege that: (1) Gaston has

“transacted business” in New York; and (2) the claim asserted arises from that business activity.

Eades v. Kennedy PC L. Offs., 799 F.3d 161, 168 (2d Cir. 2015). “Under the first prong, a non-

domiciliary defendant need not be physically present in New York to ‘transact business,’ so long

as the defendant has engaged in ‘purposeful activity,’ for example, ‘some act by which the

defendant purposefully avails itself of the privilege of conducting activities within the forum State,

thus invoking the benefits and protections of its laws.’” Gilbert v. Indeed, Inc., 2021 WL 169111,

*25 (S.D.N.Y. Jan. 19, 2021) (citing Best Van Lines, Inc. v. Walker, 490 F.3d 239, 246-47 (2d Cir.

2007)). “The Court looks to the ‘quality’ and not the quantity of the contacts.” Id. (citing

Fischbarg v. Doucet, 9 N.Y.3d 375 (2007) (purposeful activity where defendant attempted to

establish relationship through calls, faxes and emails projected into New York over months)).

        With respect to the first prong, Plaintiff has made no allegation that Gaston “transacted

business” in New York or “purposefully availed” himself “of the privilege of conducting

activities” in New York. Nor could Plaintiff make any such truthful allegations. As Gaston’s

accompanying affidavit makes clear, Gaston performs his work for Lewis Tree exclusively in

Pennsylvania, he does not transact any business of any kind in New York, does not contract to

supply goods or services in New York, and does not derive any revenue from business conducted

or services rendered in New York (Gaston Aff. ¶¶ 4-7).

        With respect to the second prong, Plaintiff fails to allege, nor could he, that Gaston had

anything to do with Plaintiff’s FMLA leave, any alleged request for reasonable accommodation or

Lewis Tree’s handling of same, or the termination of his employment. Indeed, Gaston’s affidavit

makes clear that, in fact, he had no involvement at all with such things (Gaston Aff. ¶¶ 8-10).



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Although the Complaint contains vague allegations about the conduct of all “defendants” without

specifying how Gaston himself was involved in the alleged offending conduct, such allegations

are insufficient to establish specific personal jurisdiction over Gaston under CPLR 302(a)(1). See,

e.g., Wolo Mfg. Corp. v. ABC Corp., 349 F. Supp. 3d 176, 195-97 (E.D.N.Y. 2018) (“plaintiff's

conclusory and vague allegations in the amended complaint, which generally refer to ‘defendants’

in the plural and fail to describe [the individual defendant’s] specific role, if any, in the alleged

acts of which plaintiff complains, are insufficient to demonstrate [individual defendant’s] personal

involvement in any of the alleged misconduct”); Orlofsky v. Devlin Grp., Inc., 2010 WL 11623064,

*2 (E.D.N.Y. Jan. 27, 2010) (“When considering a 12(b)(2) motion to dismiss, the Court assumes

as true factual averments of jurisdiction.... However, conclusory non-fact-specific jurisdictional

allegations or a legal conclusion couched as a factual allegation will not establish a prima facie

showing of jurisdiction.” (quotations and citations omitted)); Ontel Prod., Inc. v. Project Strategies

Corp., 899 F. Supp. 1144, 1148-49 (S.D.N.Y. 1995) (finding no personal jurisdiction over

company president, despite individual’s many contacts with New York, because plaintiff made no

allegations of president’s personal involvement with the activities giving rise to the suit).

               b.      CPLR 302(a)(2)

        Section 302(a)(2) provides for jurisdiction over a defendant who “commits a tortious act

within the state.” CPLR 302(a)(2). In order to establish jurisdiction under this section, “[t]here

must be some basis for considering the defendant’s actions to be tortious, either under the law of

New York or some other pertinent jurisdiction.” Gilbert, 2021 WL 169111 at *28 (citing

Ehrenfeld v. Mahfouz, 489 F.3d 542, 551 (2d Cir. 2007)). Here, however, the Complaint does not

make any allegation that Gaston himself took any offending action, let alone engaged in a tortious

act within New York. Specific jurisdiction under CPLR 302(a)(2) is thus lacking.



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               c.      CPLR 302(a)(3)

        To establish jurisdiction under CPLR 302(a)(3), Plaintiff must allege: “(1) the defendant

committed a tortious act outside New York; (2) the cause of action arose from that act; (3) the

tortious act caused an injury to a person or property in New York; (4) the defendant expected or

should reasonably have expected the act to have consequences in New York; and (5) the defendant

derived substantial revenue from interstate or international commerce.” Gilbert, 2021 WL 169111

*29 (citing Penguin Grp. (USA) Inc. v. Am. Buddha, 16 N.Y.3d 295 (2011); N.Y. C.P.L.R. §

302(a)(3)(ii)). “Under Section 302(a)(3), a defendant’s ‘act must have caused injury to a person

or property within New York.’” Id. (citing Doe v. Del. State Police, 939 F. Supp. 2d 313, 325-26

(S.D.N.Y. 2013)). “In determining whether an injury to person or property in New York has been

alleged, courts apply a ‘situs-of-injury test, which asks them to locate the original event which

caused the injury.’” Id. (citing Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 171 F.3d

779, 791 (2d Cir. 1999)).

        Here, the Complaint fails to allege any of these elements. As set forth above, Plaintiff has

not alleged that Gaston committed any tortious act, that any such act related to Plaintiff’s claims,

or that Plaintiff has ever been to New York, let alone that New York is the “situs” of his injury.

To the contrary, Plaintiff has admitted that he is a citizen of Pennsylvania (Complaint ¶ 5), and as

Plaintiff has claimed Gaston was his supervisory he has implicitly admitted that he worked

exclusively within Pennsylvania (see Gaston Aff. ¶ 4). Accordingly, to the extent that Plaintiff

was allegedly harmed by the conduct at issue in this case, the situs of harm is Pennsylvania, not

New York. Plaintiff has also failed to allege, nor could he if he tried, that Gaston solicits any

business or derives substantial revenue from interstate or international commerce, nor could

Plaintiff do so even if he tried, as Gaston’s affidavit confirms that he does not derive any revenue,



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let alone substantial revenue, from interstate or international commerce (Gaston Aff. ¶¶ 6-7). And

Plaintiff cannot impute the revenue of Lewis Tree to Gaston for this purpose. See, e.g., Int’l

Healthcare Exch., Inc. v. Glob. Healthcare Exch., LLC, 470 F. Supp. 2d 345, 360 (S.D.N.Y. 2007)

(finding no personal jurisdiction over individual employee where because “[t]he revenue of a

corporation is imputed to individuals for jurisdictional purposes only if they are major

shareholders.”).

        In short, there is no basis upon which this Court may exercise specific personal jurisdiction

over Gaston under CPLR 302(a).

B.      There Is No Individual Liability Under the ADA

        Even if, arguendo, personal jurisdiction over Gaston could be established, Plaintiff’s

claims against Gaston under the ADA must still be dismissed. It is well-settled that there is no

individual liability under the ADA. See, e.g., Gomez v. New York City Police Dep’t, 191 F. Supp.

3d 293, 302–03 (S.D.N.Y. 2016); Lane v. Maryhaven Ctr. of Hope, 944 F. Supp. 158, 162

(E.D.N.Y. 1996) (collecting cases). To the extent Plaintiff’s third and fourth causes of action are

asserted individually against Gaston, they must be dismissed.

C.      Plaintiff Has Failed to Plausibly Allege Individual Liability Under the FMLA

        Similarly, even if, arguendo, personal jurisdiction could be established, Plaintiff still has

failed to plausibly allege that Gaston is subject to individual liability under the FMLA.

        Individuals can only be held liable for FMLA violations when they are deemed to be the

“employer” under the statute, meaning “whether the alleged [individual] possessed the power to

control the worker [ ] in question, with an eye to the ‘economic reality’ presented by the facts of

each case.” Graziadio v. Culinary Inst. of Am., 817 F.3d 415, 422 (2d Cir. 2016). In order to

determine whether this standard has been met, courts are required to consider “a nonexclusive and

overlapping set of factors” that are intended to “encompass [ ] the totality of circumstances,” and

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which can include “whether the alleged employer (1) had the power to hire and fire the employees,

(2) supervised and controlled employee work schedules or conditions of employment, (3)

determined the rate and method of payment, and (4) maintained employment records.” Id.

(citations omitted). As explained by the Second Circuit, in analyzing these factors in the context

of potential individual liability under the FMLA, the underlying question that must be answered is

whether the individual “controlled in whole or in part plaintiff's rights under the FMLA.” Id. at

422-23 (citations omitted). If the answer to that question is no, as is the case here, the individual

cannot be held liable under the FMLA.

        Here, the Complaint fails to allege what is required for there to be a plausible individual

claim against Gaston under the FMLA. Plaintiff merely alleges that Gaston is a “manager or

supervisor” and holds a “supervisory or managerial role over the Plaintiff”—nothing more

(Complaint ¶¶ 10-11). Plaintiff provides no detail about these roles, including anything about

Gaston’s hiring and firing authority or ability to employees’ conditions of employment, rate or

method of payment, or maintenance of employment records.              Most importantly, there are

absolutely no allegations that Gaston controlled in whole or in part Plaintiff’s rights under the

FMLA, or that Gaston even participated in any way in the process or decisions that allegedly

resulted in violating Plaintiff’s rights under the FMLA. The allegations in the Complaint are

completely insufficient to support any FMLA claims against Gaston.

        Accordingly, to the extent Plaintiff’s first and second causes of action are asserted

individually against Gaston, they must be dismissed.

                                            POINT III

                      PLAINTIFF FAILED TO STATE A CLAIM
                  UNDER THE FMLA OR ADA AGAINST LEWIS TREE

        Plaintiff’s claims under the FMLA and ADA must also be dismissed as against Lewis Tree.


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A.        Pleading Standards Under Rule 12(b)(6)

          To survive a motion to dismiss, the Complaint must allege “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim

is facially plausible only “when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678.

          “‘[A]t a bare minimum, the operative standard requires the plaintiff [to] provide the

grounds upon which his claim rests through factual allegations sufficient to raise a right to relief

above the speculative level.’”      Savage v. OFC. Michael Acquino, 2016 WL 5793422, *3

(W.D.N.Y. Sept. 30, 2016) (quoting Goldstein v. Pataki, 516 F.3d 50, 56 (2d Cir. 2008) (quotations

and citations omitted)); see Twombly, 550 U.S. at 555 (the complaint’s “[f]actual allegations must

be enough to raise a right to relief above the speculative level.”).

          In addition, although a complaint need not allege specific facts to establish each prima

facie element of discrimination to survive a Rule 12(b)(6) motion, courts routinely use prima facie

standards as “a measure of legal feasibility.” Racker v. St. Bonaventure Univ., 2005 WL 1522797,

*3 (W.D.N.Y. June 28, 2005) (internal quotations and citation omitted). “[A] complaint containing

factual allegations that preclude the existence of any element of a prima facie case cannot possibly

raise a claim that is ‘facially plausible.’” Regan v. Benchmark Co. LLC, 2012 WL 692056, *9

(S.D.N.Y. Mar. 1, 2012).

B.        Plaintiff Failed to State a Claim for FMLA Interference Against Lewis Tree

          To prevail on an FMLA interference claim, a plaintiff must establish: (1) that he is an

eligible employee under the FMLA; (2) that the defendant is an employer as defined by the FMLA;



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(3) that he was entitled to take leave under the FMLA; (4) that he gave notice to the defendant of

her intention to take leave; and (5) that he was denied benefits to which he was entitled under the

FMLA. Graziadio, 817 F.3d at 424.

        Here, Plaintiff alleges that Lewis Tree interfered with his FMLA rights by not providing

him with notice of his FMLA rights (Complaint ¶¶ 57-58). However, Plaintiff never alleges that

Lewis Tree denied him FMLA leave, or that Plaintiff did not actually receive any period of unpaid

leave to which he would have been entitled under the FMLA. To the contrary, Plaintiff specifically

admits that he did, in fact, “exercise[] his FMLA rights by taking FMLA leave from his job”

(Complaint at p. 9 ¶ 52). At best, any alleged failure by Lewis Tree to provide Plaintiff notice of

his FMLA rights was harmless.

        Courts in the Second Circuit routinely dismiss FMLA interference claims where the alleged

failure was harmless and Plaintiff received all the rights to which he was entitled. See, e.g., Daly

v. Westchester Cty. Bd. of Legislators, 2021 WL 229672, *12 (S.D.N.Y. Jan. 22, 2021) (granting

motion to dismiss FMLA interference claim because the plaintiff “did not allege that [his] request

[for FMLA leave] he was ever denied” and “in fact, the leave he requested and took … was

granted. This belies a claim that [defendant] ‘interfered with Plaintiff’s FMLA rights” (emphasis

in original)); Emmons v. City Univ. of New York, 715 F. Supp. 2d 394, 418 (E.D.N.Y. 2010)

(admission that plaintiff was granted leave “foreclose[d]” an FMLA interference claim). Because

Plaintiff acknowledges that he requested FMLA leave despite the alleged failure to provide him

with notice of his FMLA rights, Plaintiff fails to allege that he was denied any FMLA leave and

the remainder of his allegations make clear that he did, in fact, receive the FMLA leave to which

he was entitled, Plaintiff fails to state a claim for FMLA interference.




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        Finally, to the extent the Complaint can be construed as claiming that Lewis Tree failed to

reinstate him following leave as the basis for claiming interference, such claim would necessarily

fail. Plaintiff alleges that he requested and commenced his FMLA leave on November 6, 2019

(Complaint p. 9 ¶ 52). He then alleges that his doctor cleared him to return to work on July 6,

2020, approximately 7 months later (Complaint ¶ 29). Because Plaintiff admits that he was not

able to return to work until July 2020 (Complaint ¶ 29)—i.e., well after the 12 weeks of FMLA

leave to which Plaintiff was entitled—his FMLA interference claim must be dismissed. See, e.g.,

Donnellan v. New York City Transit Auth., 1999 WL 527901, *5 (S.D.N.Y. July 22, 1999)

(“[P]laintiff also fails to state a claim for interference with her right to be restored to her position.

This right only obtains where the plaintiff is able to return to her position at the conclusion of her

FMLA leave period.”).

C.      Plaintiff Failed to State a Claim for FMLA Retaliation Against Lewis Tree

        To establish a prima facie case of FMLA retaliation, a plaintiff must establish: (1) he

exercised rights protected under the FMLA; (2) he was qualified for his position; (3) he suffered

an adverse employment action; and (4) the adverse employment action occurred under

circumstances giving rise to an inference of retaliatory intent. Graziadio, 817 F.3d at 429.

        However, in support of this claim, Plaintiff alleges only temporal proximity as the causal

connection between exercise of rights under the FMLA and the termination of his employment

(see Complaint at p. 10 ¶ 56). Although Plaintiff alleges that he was terminated “immediately”

after he sought leave on November 6, 2019,6 Plaintiff also alleges that he does not know when he

was terminated and that it was just at some unspecified point “while he was on leave.” (Complaint



6
 Plaintiff was not terminated until May 22, 2020, more than six months after his request for FMLA leave (see Gaston
Aff. ¶ 10).


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¶ 42; see id. at ¶¶ 30, 32, 63, 70). His allegation is thus a speculative and conclusory statement

that cannot stave off dismissal at this stage. See Twombly, 550 U.S. at 555, 557 n.5 (holding a

complaint’s “factual allegations must be enough to raise a right to relief above the speculative

level” to meet the plausibility threshold).

        In addition, while temporal proximity can occasionally establish the requisite causal

connection, a temporal gap of more than two months between the plaintiff’s protected activity and

adverse employment action, on its own, is insufficient. See, e.g., Daly, 2021 WL 229672 at *12

(granting motion to dismiss FMLA retaliation claim where “Plaintiff pled no facts linking his

discussion with [Defendant] in December 2017 to his termination in March 2018 and, as the

incidents are more than two months apart, he was required to do so. Because the events were more

than two months apart, he could not rely solely on the events’ temporal proximity to plead

causation.”); Fukelman v. Delta Air Lines, Inc., 2020 WL 4587496, *19 (E.D.N.Y. Apr. 13, 2020)

(dismissing FMLA retaliation claim noting that “the passage of two or three months between the

protected conduct and adverse employment action, unsupported by any other allegation showing

plausible retaliation, are insufficient to raise an inference of retaliation” (internal quotation marks

omitted)), adopted by 2020 WL 2781662 (E.D.N.Y. May 29, 2020); Graham v. Macy’s, Inc., 2016

WL 354897, *9 (S.D.N.Y. Jan. 28, 2016) (“courts in this Circuit generally hold that a gap longer

than two months severs the inferred causal relationship”); Alexander v. Bd. of Educ. of City Sch.

Dist. of City of New York, 107 F. Supp. 3d 323, 329 (S.D.N.Y. 2015) (noting that “the passage of

more than two months has been viewed as beyond ... any retaliatory nexus” (internal quotation

marks omitted)), aff'd sub nom. Alexander v. Bd. of Educ. of City of New York, 648 F. App’x 118

(2d Cir. 2016). Here, not only has Plaintiff has failed to allege when he was actually terminated,

but that he did, in fact, receive the FMLA leave to which he would have been entitled (see p. 18



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supra). Inasmuch as Plaintiff implicitly alleges at least a gap of three months (i.e., the 12 weeks

of Plaintiff’s FMLA leave) between his FMLA request on November 6, 2019 and the termination

of his employment, the Complaint fails to allege a plausible claim for FMLA retaliation.

D.      Plaintiff Failed to State a Claim for Failure to Accommodate Under the ADA
        Against Lewis Tree

        To maintain a claim under the ADA for failure to accommodate, must plead and prove that

he “(1) he is a person with a disability under the meaning of the ADA; (2) an employer covered

by the statute had notice of his disability; (3) with reasonable accommodation, the employee could

perform the essential functions of the job at issue; and (4) the employer has refused to make such

accommodations.” Noll v. Int’l Bus. Machs. Corp., 787 F.3d 89, 94 (2d Cir. 2015) (internal

quotation omitted).

        In support of his failure to accommodate claim, Plaintiff alleges that he “notified

Defendants about the status of his disability” several times in late 2019 and again “every other

week from January 21, 2020 to June 6, 2020” (Complaint ¶ 62). Then, without any further

elaboration, Plaintiff alleges only that “Defendant refused and failed to engage in the interactive

process, effectively denied Plaintiff’s request for leave, and summarily terminated him sometime

before his request to return” (Complaint ¶ 63). Plaintiff never actually alleges that he even

requested an accommodation, or if he did what that accommodation was, when or how or to whom

he did so or the way in which it was handled by Lewis Tree, what Lewis Tree allegedly did or did

not to not engage in the interactive process under the ADA, or any other detail about Lewis Tree’s

alleged refusal of the accommodation.

        These bare allegations are insufficient to plead a plausible failure to accommodate claim

under the ADA. See, e.g., Dooley v. Jetblue Airways Corp., No. 14-CV-4432 JMF, 2015 WL

1514955, at *5 (S.D.N.Y. Apr. 1, 2015), aff'd in relevant part, vacated in part on other grounds,


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remanded, 636 F. App'x 16 (2d Cir. 2015) (dismissing ADA failure to accommodate claim as

“woefully insufficient to survive motion to dismiss” where, “conclusory allegations aside, Plaintiff

neither alleges that she asked for an accommodation for her disability nor provides any facts

suggesting that the decision to terminate her was related to the accommodations required by her

disability.”). Plaintiff’s third cause of action against Lewis Tree must be dismissed.

E.      Plaintiff Failed to State a Claim for Retaliation Under the ADA Against Lewis Tree

        In order to establish a cause of action for retaliation under the ADA, a plaintiff must plead

and prove “(i) [ ] plaintiff was engaged in protected activity; (ii) the alleged retaliator knew that

plaintiff was involved in protected activity; (iii) an adverse decision or course of action was taken

against plaintiff; and (iv) a causal connection exists between the protected activity and the adverse

action.” Natofsky v. City of New York, 921 F.3d 337, 353 (2d Cir. 2019) (citations omitted).

Although pleading a prima facie case is not required, the facts alleged in the complaint must still

give rise to a plausible inference of causation in order to survive dismissal at this stage. “To

sufficiently plead causation, the plaintiff must plausibly allege a connection between the adverse

action and participation in protected activity.” Garcia v. Kings Cty. Hosp. Ctr., 2018 WL 389212,

*6 (S.D.N.Y. Jan. 11, 2018) (citing Riddle v. Citigroup, 640 F. App’x. 77, 79 (2d Cir. 2016)). And,

as the Second Circuit has held, that the alleged protected activity must be the “but for” cause of

the adverse action at issue in order to sustain an ADA retaliation claim. Natofsky v. City of New

York, 921 F.3d 337, 347 (2d Cir. 2019); see also D’Alessio v. Charter Commc’ns, LLC, 2020 WL

5638721, *6 (E.D.N.Y. Sept. 21, 2020) (“ADA retaliation claims require a but-for causal showing

between the adverse action and the protected activity”); Bailey v. Mount Vernon City Sch. Dist.,

2020 WL 1528481, *12 (S.D.N.Y. Mar. 30, 2020) (“recent Second Circuit decisions …




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conclusively establishes that ‘but-for’ causation is required for each of Plaintiff’s claims,” one of

which was an ADA discrimination claim).

        Here, Plaintiff only vaguely alleges that “at some point shortly after Plaintiff took leave

but before he was able to return in June of 2020, Defendants terminated Plaintiff” (Complaint ¶

70) and that “[u]pon information and belief, defendants fired Plaintiff because he requested

reasonable accommodations for his disability” (Complaint ¶ 71). But the Complaint fails to set

forth any facts to connect, let alone to plausibly allege a but for causal connection, his taking leave

with the termination of his employment or any other alleged exercise of Plaintiff’s rights under the

ADA. Plaintiff’s false syllogism allegations that he engaged in protected activity and subsequently

suffered an adverse employment action without any facts plausibly connecting same, is

insufficient. His ADA retaliation claim must be dismissed. See, e.g., Langella v. Mahopac Cent.

Sch. Dist., 2020 WL 2836760, *12 (S.D.N.Y. May 31, 2020) (dismissing ADA retaliation claim

where “Plaintiff has failed to plausibly allege that the protected activity was the ‘but-for’ cause of

Defendants’ actions.”); see Wiley v. Plattsburgh, 407 F. Supp. 3d 119, 129 (N.D.N.Y. 2019) (“In

sum, [plaintiff’s] discrimination claims boil down to a classic false syllogism that fails to support

an inference of discrimination: “I am (fill in the protected class of which the plaintiff is a member);

something bad happened to me ...; therefore the bad thing happened because I am (fill in the

protected class)”).

                                          CONCLUSION

        Based on the foregoing, the Court should issue an Order granting Defendants’ motion to

dismiss and dismissing the Complaint in its entirety pursuant to Rule 12(b)(1), (2) and (6) of the

Federal Rules of Civil Procedure.




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Dated: August 9, 2021
                                       Respectfully submitted,

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